Ee

Case 5:17-cv-00036-GTS-TWD Document 25 Filed 10/25/19 Page 1 of 19

 

U.S. DISTRICT COURT - N.D. OF N.Y

 

Robert W. Sadowski FILED
ROBERT W. SADOWSKI PLLC

800 Third Ave, 28'" Floor 95 2015
New York, New York 10022

 

 

 

Tel. No.: (646) 503-5341 AT ___ O'CLOCK

joha M. Domurad, Gerk - Albany

 

 

 

Attorneys for Relator James Hagan

UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF NEW YORK

Siege Seles e eels ite tee eb eens ao eee eed eee ed ee cee oesce eee sey

UNITED STATES OF AMERICA
ex rel. JAMES HAGAN,

| AMENDED COMPLAINT

Plaintiff/Relator,

- against - | Civ. No. 17 cv 036 (GTS/TWD)
NORTHLAND ASSOCIATES, INC., THE
DIVERSE CONSTRUCTION GROUP, LLC, |
AND JAMES TYLER,
__ Defendants. |

Relator James Hagan (“Relator”), by and through his attorneys, Robert W. Sadowski

PLLC, alleges for the amended complaint as follows:
PRELIMINARY STATEMENT AND NATURE OF THE ACTION

J, This is a civil action brought by relator on relator’s behalf and on behalf of the United
States of America (“United States”) against Northland Associates, Inc. (“Northland”), The
Diverse Construction Group, LLC (“Diverse”), and James Tyler, (collectively, the
“Defendants”), under the False Claims Act, 31 U.S.C. §§ 3729 et seq. (the “False Claims Act”),
to recover damages sustained by, and penalties owed to, the United States. In connection with
construction contracts with the Federal Government, for which only Service-Disabled Veteran-
Owned Small Business Concerns (“SDVOSBC”) and Historically Underutilized Business Zone

(“HUBZone”) firms were eligible to obtain, Defendants knowingly presented, or caused to be
 

Case 5:17-cv-00036-GTS-TWD Document 25 Filed 10/25/19 Page 2 of 19

presented, false or fraudulent claims for payment or approval; knowingly made, used, or caused
to be made or used, a false record or statement material to a false or fraudulent claim; and
conspired to commit the Fens acts, all in violation of 31 U.S.C. §§ 3729(a)(I)(A), (B), & (C).

2. Defendants engaged in a scheme whereby they created a sham company, Diverse, to bid
for and fraudulently obtain over fifty million dollars of contracts from the United States for
various construction projects. - .

3. To induce the Government and to obtain such contracts, Defendants fraudulently certified
that Diverse was a self-certified SDVOSBC and a certified HUBZone firm, even though it was
not,

4. Rather, Defendant Northland, its owner Defendant James Tyler, conspired to set up
Diverse with a service-disabled veteran, Hunter Grimes. Under the scheme, Grimes would act as
the majority owner, while in reality Northland and Tyler retained true ownership and control of
Diverse at all times.

3. Once Northland secured the contracts under the name of Diverse, Northland employees
performed the work under the contract as well as obtained millions of dollars of valuable
subcontractor work. In order to maintain the scheme, Defendants made additional false
statements to the Government in response to a size determination, and maintained a phony office
for Diverse while the work was actually performed out of Northland’s offices.

JURISDICTION AND VENUE

6. This Court has jurisdiction over the claims brought under the False Claims Act pursuant
to 31 U.S.C. § 3730(a) (False Claims Act), 28 U.S.C. §1331 (Federal Question), 28 U.S.C §
1345 (United States as plaintiff), and supplemental jurisdiction over the remaining claims

7. Venue lies in this District pursuant to 31 U.S.C. § 3732(a) and 28 U.S.C. §§ 1391(b)(1)

and (2) because at least one of the Defendants resides or transacts business in the Northern
 

Case 5:17-cv-00036-GTS-TWD Document 25 Filed 10/25/19 Page 3 of 19

District of New York and all Defendants reside in New York, and because a substantial part of
the events or omissions giving rise to the claims occurred in this District.

8. ° This action is not jurisdictionally precluded by the public disclosure bar of the False
Claims Act, 31 U.S.C. § 3730(e)(4). Upon information and belief, there has been no “public
disclosure” of the matters alleged herein, and this action is not “based upon” any such disclosure.
Through his interactions with various employees of the Defendants and other persons, Relater
has “direct and independent knowledge” of the instant allegations. In addition, Relater has
“voluntarily provided” and offered to provide this information to the Government before the
filing of this complaint. Therefore, to the extent any of these allegations is deemed to have been
based upon a public disclosure, Relater is an “original source” of this information within the
meaning of the False Claims Act and is expressly excepted from the public disclosure bar.

THE PARTIES

9. Plaintiff is the United States of America on behalf of its agencies, the United States
Department of Veteran Affairs (“VA”) and the Small Business Administration (“SBA”).

10. ‘Relator is a former employee of Northland.

11. Defendant Northland is a New York Corporation located in Liverpool, New York. It is a
gencral contractor and construction management firm, which, at all times pertinent to this action,
was controlled by Defendant James Tyler.

12. Defendant Diverse is a New York Limited Liability Company located in Plessis, New

York.

 

 
Case 5:17-cv-00036-GTS-TWD Document 25 Filed 10/25/19 Page 4 of 19

THE LAW
The SDVOSBC Program

13:.° The purpose of the SDVOSBC program is to provide procuring Government agencies
with the authority to set acquisitions aside for exclusive competition among SDVOSBCs. In

| essence, it allows businesses with SOVOSBEC status to obtain lucrative contracts with the
Government that they would otherwise be unable to obtain.
14. <A “service-disabled veteran business” is a small business concern owned and controlled
by service-disabled veterans, as defined in section 3(q) of the Small Business Act. 15 U.S.C. §
632(q).
15. ‘The term “service-disabled veteran” means a veteran, as defined in 38 U.S.C. § 101(2),
with a disability that is service-connected. “Service-connected” means, “with respect to
disability . . . that such disability was incurred or aggravated . . . in line of duty in the active
military, naval, or air service.” 38 U.S.C. § 101(16).
16. _A federal contracting officer may award a sole source contract to any small business
concern owned and controlled by service-disabled veterans. The concern must be a responsible
contractor with respect to performance of such contract opportunity and the contracting officer
does not have a reasonable expectation that two or more small business concerns owned and
controlled by service-disabled veterans will submit offers for the contracting opportunity; and the
anticipated award price of the contract (including options) will not exceed $5,000,000, in the
case of a contract opportunity assigned a standard industrial classification code for
manufacturing, or $3,000,000 in the case of any other contract opportunity; and in the estimation

of the contracting officer, the contract award can be made at a fair and reasonable price. 15

U.S.C. § 657(f).

i aie

 
 

Case 5:17-cv-00036-GTS-TWD Document 25 Filed 10/25/19 Page 5 of 19

17. Contractors seeking to secure these selective bids and contracts with the VA or other
government agencies must register electronically and certify that they qualify as an SDVOSBC.
A business concern must be at least 51% unconditionally and directly owned by one or more
service-disabled veterans to qualify as a SDVOSBC. 15 U.S.C. § 632(q)(2); 13 C.F.R. § 125.10;
38 C.F.R. § 74.4. Moreover, to be an eligible SDVOSBC, the management and daily business
operations of the concern must be controlled by one or mere service-disabled veterans. Jd.
Control by one or more service-disabled veterans means that both the long-term decision making
and the day-to-day management and administration of the business operations must be conducted
by one or more service-disabled veterans. Jd.

18. Prior to February 8, 2010, a service-disabled veteran was not deemed to control the
SDVOSBC if he or she did not show sustained and significant time invested in the business. As
of February 8, 2010, the service-disabled veteran is also required to devote full-time to the
business during normal working hours in order to control the SDVOSBC. 38 C.F.R. § 74.4(c).
19. A non-veteran or entity may be considered to control an SDVOSBC in numerous
situations including the following: where it has equity interest in or provides critical financial
support to the SDVOSBC, allowing it to influence business decisions of the SOVOSBC; where it
has a business relationship with the SDVOSBC which causes such dependence that the
SDVOSBC cannot exercise independent business judgment without great economic risk. 38
CFR. § 74.A4(i).

20. A non-veteran may also be deemed to control an SDVOSBC where it participates in its
management and/or has the power to control the SDVOSBC; is a former employer or a principal

of a former employer of any affiliated business of the SDVOSBC, unless there has been a

specific determination that the non-veteran does not have the power to control the SDVOSBC; or
Case 5:17-cv-00036-GTS-TWD Document 25 Filed 10/25/19 Page 6 of 19

receives compensation that exceeds the compensation of the highest ranking officer of the
SDVOSBC. 38 C.F.R. § 74.4(g).
21. AnSDVOSBC will be deemed improperly affiliated with a non-SDVOSBC and ihercione
not qualify as an SDVBOC, where the non-SDVOSBC has the power to control the SDVOSBC;
exercises control indirectly; the two entities have an identity of interest with the SDVOSBC due
to shared equipment, employees, location, shared contractual relationships, or economic
dependence; the two companies have shared management; or one company’s management or key
employees founded the new company. Affiliation is determined by looking at the totality of the
circumstances. 13 C.F.R. §121.103(a), (d), (e), (£), and (g).
The HUBZone Program
22.‘ The purpose of the HUBZone program is to provide federal contracting assistance for
qualified small business concerns located in underutilized business zones, in an effort to increase
employment opportunities, investment, and economic development in such areas.
23. To qualify as a HUBZone for set-aside Government contracts, a firm would have to be
located in an underutilized business zone in additional to being a small business concern.
24. Like the SDVOSBC rules, a firm would be disqualified from receiving a set-aside
contract if it were affiliated with or controlled by a non-HUBZone firm.
The Federal False Claims Act

25. The False Claims Act, as amended, provides, in pertinent part, that:

any person who (A) knowingly presents, or causes to be presented a false or

fraudulent claim for payment or approval; (B) knowingly makes, uses, or causes to

be made or used, a false record or statement material to a false or fraudulent claim;
(C) conspires to commit a violation of subparagraph (A), (B).. .

is liable to the United States Government for a civil penalty of not less than [$5,500]
and not more than [$11,000]... plus 3 times the amount of damages which the
Government sustains because of the act of that person.

 

 
 

Case 5:17-cv-00036-GTS-TWD Document 25 Filed 10/25/19 Page 7 of 19

31 U.S.C. § 3729.

THE FACTS
Overview of the False and Fraudulent Schemes

Northland and Jim Tyler Set up the Sham SDVBOC Diverse
26. Starting in 2007, Defendants Northland and Jim Tyler conspired with Hunter Grimes to

obtain lucrative SDVOSBC and HUBZone contracts with the VA. Tyler convinced Grimes to
lend his name to a sham SDVOSBC, which he agreed to do.

27. ‘In 2005, Tyler promoted seven of his Northland employees to be a newly formed
“Executive Committee,” promising them profit-sharing and an increased bonus. The seven
employees were Richard Capirci, Timothy Tyler, (Jim Tyler’s cousin), Raymond Swierk, James
Hagan, Dennis Baron, Larry LaComb, and Michael McKenna.

28. In 2006, Tyler then pressured his Executive Committee to become minority owners of
Diverse, telling them it was a great opportunity and that they could use their bonuses to buy in to
the company, which he caused to be formed in November 2007, and caused the Operating
Agreement to be executed in April 2008.

29. The Executive Committee, when approached by Tyler, asked him where they would
acquire bonding. Tyler responded, “let me worry about that,” and then proceeded to secure
initial bonding from Diverse using Northland’s bonding company, Rose & Kiernan, Inc., out of
its Rochester, New York office.

30. Diverse was created solely to enable Northland and Diverse to unlawfully obtain
lucrative contracts with the Government under the guise that Diverse was a small business

owned and controlled by Grimes, a service-disabled veteran.
Case 5:17-cv-00036-GTS-TWD Document 25 Filed 10/25/19 Page 8 of 19

Tyler and Northland Controlled Diverse.

31. Grimes, at all times pertinent to this action, was the figurehead, only, of Diverse, without
the experience or capabilities to ran such a venture. Grimes did not control Diverse or take part
in any of its a or decision-making. His ownership and control of Diverse was in
name only. Indeed, he was often not present at Diverse meetings and was almost never present
’ at meetings to determine which projects to bid on, In fact, Tyler would often tell his Northland
employees that Grimes was just a “qualifier” and that “when we need him, we take him out of
the closet, and when we are done with him, we put him back in.”

32. Tyler operated Diverse out of Northland’s offices in Liverpool, New York. Tyler made
all important financial and staffing decisions for Diverse just as he did for Northland. Tyler met
weekly with his Executive Committee concerning Northland and Diverse business. Initially,
Diverse’s “office” was at Tyler’s residence. In April 2010, Tyler, conspired with Grimes to set
up official offices in Plessis, New York, near where Grimes resided to give the appearance that
Diverse was a separate business. However, almost no work was done there. In fact, the double-
wide trailer that comprised the so-called office was Northland property. Instead, the Executive
Committee along with other Northland employees performed the bulk of the work from the
Northland offices. At the Executive Committee meetings for Northland, Tyler discussed and
made ultimate decisions for all Diverse business. Grimes did not attend these meetings, let alone
direct them. Indeed, Grimes was rarely there for the meetings when it was decided which
projects to bid upon. Tyler was there and made the ultimate decision on bids. There were no
separate Diverse meetings. Tyler discussed and made the financial and staffing decisions for

Diverse. All decisions relating to Diverse required Tyler’s approval. Grimes made none of the

decisions.

 

 
Case 5:17-cv-00036-GTS-TWD Document 25 Filed 10/25/19 Page 9 of 19

 

33. At Tyler’s direction, his Executive Committee and part-owners of Diverse, worked on
Diverse matters from the Northland location, while continuing to be employed and paid by

Northland. For example, Ray Swierk oversaw Diverse accounting, Richard Capirci oversaw the

im! . _—

bidding and construction management, as well as worked as an estimator and purchaser, and
Ronald Burlin, (who became a member of the Executive Committee of Northland and minority
owner of Diverse in December 30, 2011), handled bidding and purchasing for-Diverse long
before he became a part-owner. The Executive Committee did all this work for Diverse during
business hours for Northland, while they were in Northland’s offices and employed and paid to
work on Northland matters. When an Executive Committee employee left or was terminated by
Northland, Tyler forced that individual to forfeit their Diverse “ownership.”

34. Tyler also directed other Northland employees to perform Diverse work. For example,
Kathy Champlin was employed by Tyler to run payroll at Northland and also handled Diverse’s
payroll from Northland’s offices. Gale Dolan, who was employed by Tyler to handle Accounts
Payable and Receivable for Northland, was also directed by him to assist with Diverse’s
accounting, which was all performed from Northland’s offices and while on Northland payroll.
35. Mike McClimmands, an estimator on Northland payroll, purchased, wrote contracts, and
handled shop drawings for Diverse, all from Northland’s offices. Brian Carvalho, was an
estimator on Northland payroll who did bidding work for Diverse. Josh Parsons, was a
Northland employee who did information technology and estimation work for both Northland
and Diverse. The Northland estimators were given separate cell phones to use for Diverse work

and maintained Diverse email addresses.
Case 5:17-cv-00036-GTS-TWD Document 25 Filed 10/25/19 Page 10 of 19

36. Maria Shockney, Northland’s receptionist and Diane Smith, who were on subcontractor
insurance, were Northland employees that Tyler tasked with preparing technical proposals for
Diverse.

37. Other Northland employees, such as piperiitendienits, anitatly performed work for .
Diverse while still employed for Northland. Tyler directed that, for appearances, they be

. transferred to Diverse Payroll. Most continued to work from Northland’s offices and drove
Northland trucks for extended periods of time. [fa particular project was completed, the
employees were then transferred back to Northland payroll.

38. Diverse bidding was handled by Northland and out of Northland’s offices. Therefore,
solicitations were actually physically sent out from Northland on Diverse’s behalf. Josh Parsons
sent out the solicitations via blind facsimiles and blind emails.

39. Diverse estimation was also done form Northland’s offices, and all faxes relating to
estimation that Diverse received were automatically forwarded to Northland. This was also
handled by Josh Parsons.

40. Jason Franklin, was on Northland payroll for years, assisting Ray Swierk with Northland
and Diverse accounting. Northland’s outside accountants, Firley, Moran, & Essa, also handled
Diverse’s accounting. Tyler met annually with them to discuss the accounting for both

Northland & Diverse.

Defendants fraudulently obtain lucrative government contracts, falsely represent Diverse as a
SDVOSBC, and attempt a cover-up,

41. Starting in 2008 through 2016, Defendants fraudulently obtained numerous contracts
with United States agencies, including the VA—-worth over 56 million dollars—by falsely
certifying that Diverse was a SDVOSBC and a HUBZone. In reality, it was merely an extension

of Northland and wholly controlled by Tyler and his Executive Committee.

10

 

 
Case 5:17-cv-00036-GTS-TWD Document 25 Filed 10/25/19 Page 11 of 19

42. Defendants’ false certifications fraudulently induced the Government to award the tens of
millions of dollars of contracts to Diverse.

43. Once Tyler secured the lucrative VA contracts through Diverse, his sham SDVOSBC, he
treated the contracts and resulting revenue as his own, including staffing Diverse’s work on the
contracts with Northland employees.

44.‘ Tyler and. Northland also made all financial decisions-concerning the work on the
contracts awarded to Diverse, including causing Diverse to subcontract millions of dollars of the
work to Northland or companies owned by Northland, thereby fraudulently funneling money to
Northland.

45. Tyler covered up this scheme by directing his Executive Committee to be direct owners,
yet ensured that Diverse’ Operating Agreement falsely stated that Grimes would have sole
management authority. In reality, the Executive Committee managed all Diverse work,
answering only to Tyler, and using other Northland employees to do the work. Grimes had no
management role. Ray Swierk, in particular worked closely with Tyler to ensure Diverse
operated the way Tyler wanted.

Defendants Fraudulently Oppose a Bid Protest and Continue Their Cover-up.

46. In September 2009, Tyler and Northland caused Diverse to make a bid for a solicitation
issued in August 2009 by the Departments of the Navy and Air Force, National Guard Bureau
for construction projects in Fort Drum, New York, which were set aside for HUBZone firms.
47. After Diverse won the solicitation with the low bid, an unsuccessful offeror contested the
bid, which led to a size determination. The Area Office determined that Diverse was other than

small because of its affiliation with Northland. It determined that Diverse and Northland were

1]

 

 
Case 5:17-cv-00036-GTS-TWD Document 25 Filed 10/25/19 Page 12 of 19

affiliated solely because of their contractor/subconiractor relationship and because seven
Northland employees were minority owners of Diverse.

_ 48. Diverse appealed the determination and through fraudulent statements was successful on
appeal Tyler conspired with Grimes to submit false statements on appeal. These included a
declaration from Mr. Grimes and certifications from Grimes and Tyler, all dated October 26,
2009.

49. Defendants made or caused to be made the following key false statements and/or
misleading statements and omissions in those documents:
the false statement that Northland did not control Diverse;
the false statement that Northland shared no employees, facilities, office space, or
equipment with Diverse;
the false statement that Northland did not financially assist Diverse or assist Diverse in
obtaining bonding;
the false statement that seven minority owners of Diverse, did not have significant
influence over and were not key employees of Northland;
the false statement that Northland provided no assistance to Northland in the bid
application process; and
the misleading statement that the Operating Agreement gave Grimes complete control
giving him the sole and exclusive right to manage the company, without disclosing that
Grimes did not in fact manage Diverse, but management was done by the seven

Northland employees, with Tyler signing off on all ultimate decisions; and

12

 

 
 

Case 5:17-cv-00036-GTS-TWD Document 25 Filed 10/25/19 Page 13 of 19

the false statement that only financial obligations between Diverse and Northland
Were

the contractor/subcontractor relationship and business done between the two entities
were arms-length transactions.
50. Based on these materially false statements and omissions, Diverse’s appeal
was successful, allowing Defendants to continue to fraudulently bid upon and
perform tens of millions of dollars of federal contracts.
51. To better hide its tracks and cover up Defendants’ fraud, after the designation and
appeal, Diverse switched its bonding agent from the one it previously shared with Northland.
Additionally, it was only after the protest that Tyler caused Diverse to open its own physical
office in Plessis, NY, even though the work for Diverse continued to be done from
Northland’s offices. In the event that the federal representative on the government contract
was visiting, Tyler directed that staff, equipment and files be temporarily transferred for the
day to the Plessis, NY office.

Northland and Tyler Actively Concealed Northland’s Control of Diverse Showing Knowledge
of Materially False Statements as Part of Their Scheme to Defraud the Government

52. Tyler directed his Northland accounting personnel, situated and performing all Diverse
accounting functions in their office at Northland, to move money from the Diverse account to
Northland's account in an effort to show favorable profitability at year end between 2008 and
2014. Tyler directed his Northland accounting personnel to draft checks from the Diverse
account and deposit money into the Northland account. In addition, Northland was always
concerned about maintaining a strong image with the Bonding company to maintain their
sizable bonding line, so Diverse revenue was used by Northland to maintain fraudulent

revenue numbers.

13
Case 5:17-cv-00036-GTS-TWD Document 25 Filed 10/25/19 Page 14 of 19

53. Tyler disregarded the alleged separation of Northland and Diverse by consistently
sharing employees and equipment. Northland’s small in-house group named JDS
Construction regularly sent personnel to the Diverse projects. Upon information and belief,
Tyler caused Northland to charge Diverse excessive amounts for Northland’s employees and
equipment. Excessive charges by Northland to Diverse was Tyler’s method to conceal the
money Tyler siphoned from Diverse.

54. Tyler falsely certified that there was no sharing of employees and equipment between
Northland and Diverse, yet the Northland estimators were given cell phones so that they could
pretend to be Diverse employees and communicate with Subcontractors, thus actively
concealing the fact that Northland employees were falsely representing themselves as Diverse
employees. Estimators Larry Lacomb, Brian Carvalho, Scott Johnson, Mike McKenna, James
Hagan and, upon information and belief, Mike McClimans were aware of this ruse. One
subcontractor, JBS Dirt, (owned by Jim Baker) asked Brian Carvalho if the Fort Drum Project
would be purchased from the Syracuse i.e., Northland office, or Plessis i.e., the Diverse office.
Brain Carvalho told this story at one of the estimating meetings. Subcontractors, however,
knew of the ruse despite Northland’s attempts to conceal it. Despite the attempts to conceal the
scheme, Cunningham Excavation of Canastota, N.Y., which performed the excavation work at
the Fort Drum job witnessed and dealt with the Northland employees on the Fort Drum job.
Subcontractors Lawman Cooling and Heating and Weydman Electric were also well aware of
Northland’s employees working on the Army Corps job in Rochester.

55. Northland's IT personnel sent mass emails to potential subcontractors to inform them
that Diverse was bidding on projects. The emails were constructed in a way to conceal the

sender of the email, who could not be identified or traced to the Northland office.

14

 
Case 5:17-cv-00036-GTS-TWD Document 25 Filed 10/25/19 Page 15 of 19

56. Northland installed a facsimile machine outside the office door of Ron Berlin the Chief
Estimator at Northland to receive Diverse fax messages. The sentiment at Northland was that
Northland employees wanted to know in real time everything Hunter Grimes was doing and
what information he was receiving. Any facsimiles sent to the Diverse fax number would roll
over to the fax machine at Northland. Jim Tyler and the Diverse owners knew that Grimes

- lacked experience and lacked the ability to make sound decisions, .so monitoring facsimiles was
one way Northland could contro] the overall operation and the day-to-day issues.

57. Tyler repeatedly stated and illustrated literally by raising his right arm with his index
finger and thumb pinched together as if he was picking up a doll or small toy, he would say
"Hunter is just our qualifier, when we need him, we take him out of the closet, when we are
done with him, we put him back in." Tyler was witnessed saying this insult in front of Grimes.
58. Bid bonds were sent overnight to the Northland office for inclusion in the Technical
Proposals submitted by Diverse. Federal contracting officers will not allow a contractor to bid
on a proposed job without a very detailed technical submission that proves that the bidder is
qualified to build the project. The Technical Proposals consist of 3-ring binders, with an index,
the resumes of intended personnel for the project, detailed narratives of how the project would
be managed and executed. If Diverse had not submitted the Technical Proposals with
fraudulent representations about its employees and capabilities, Diverse would not have even
been allowed to bid projects. So important to the bid is the timely submission of the Technical
Proposal that Ron Berlin, whose job was to submit the Technical Proposal, once failed to
submit a Diverse fraudulent Technical Proposal on time, so Diverse could not bid the project.
Upon information and belief, another time Ron Berlin drove to Vermont over a weekend to
deliver a Diverse Technical Proposal that was due on a Monday, but finished too late to be

mailed by overnight mail. Ron Berlin, Maria Shockney and Diane Smith did most all of the

15
 

Case 5:17-cv-00036-GTS-TWD Document 25 Filed 10/25/19 Page 16 of 19

Technical Proposals, and worked countless hours and evenings completing these because
Diverse had to submit its qualifications before it was even allowed to bid on a Federal project.
59. In the beginning of the scheme, Northland and Diverse shared the same bank and
bonding company. Northland was advised, upon information and belief, by Dave Cooper of the
Bonding company Rose & Kiernan, that Northland and Diverse should not use the same
bonding company and that there should not be so many similar overlapping. connections
between the two companies. To conceal the deception that Northland was perpetrating,
thereafter, Diverse began getting its bonds from Haylor, Freer and Coon in Watertown, NY,
instead of Rose & Kiernan in Rochester.

FIRST CLAIM Violations of

the False Claims Act (31

U.S.C. § 3729 (a)(1)(A))
Presenting False Claims for
Payment

60. The United States and Relator incorporate by reference the above paragraphs as if
fully set forth herein.

61. The United States seeks relief against Defendants under Section § 3729(a)(1)(A) of the
False Claims Act, 31 U.S.C. § 3729(a)(I)(A).

62. As set forth above, Defendants knowingly presented, or caused to be presented, false
and fraudulent claims for payment or approval in connection with the submission of claims
for payment for contractual services, which contracts were fraudulently obtained.

63. The Government paid out federal funds because of Defendants’ fraudulent conduct.
64. By reason of Defendants’ false claims, the United States has been damaged in a

substantial amount to be determined at trial.
Case 5:17-cv-00036-GTS-TWD Document 25 Filed 10/25/19 Page 17 of 19

SECOND
CLAIM

Violations of the False Claims
Act
(31 U.S.C. § 3729
(a)(1)(B)) Use of False
Statements

65. The United States and Relator incorporate by reference the above paragraphs above as
if fully set forth herein. 3
66. The United States seeks relief against Defendants under Section § 3729(a)(1)(B) of
the False Claims Act, 31 U.S.C. 3729(a)(1)(B). Defendants, knowingly made, used, or
caused to be made and used, false records and statements material to false or fraudulent
claims paid or approved in connection with the submission of contract bids and claims for

payment for government contracts fraudulently obtained.

67. The SDVOSBC and HUBZone programs paid such false or fraudulent claims because
of

Defendants’ acts and conduct.
68. By reason of Defendants’ causation to make or use false claims, the United States has

been damaged in a substantial amount to be determined at trial.

THIRD CLAIM Violations of

the False Claims Act
(31 U.S.C. § 3729

(a)(1)(C))
Conspiracy to Commit a Violation of the False Claims

Act

69. The United States and Relators incorporate by reference the paragraphs above as if
fully set forth herein.
70. The United States seeks relief against Defendants under Section § 3729(a)(1)(C) of the

False Claims Act, 31 U.S.C. § 3729(a)(1)(C).

Lh]

 
—_-= — Os EE ee—eee 0 OO

Case 5:17-cv-00036-GTS-TWD Document 25 Filed 10/25/19 Page 18 of 19

71. Asset forth above, Defendants conspired to commit a violation of subparagraph (A)
and

(B) of the False Claims Act.

72. Defendants have committed at least one overt act in furtherance of their conspiracy.
73. Byreason of the Defendants’ conspiracy, the United States has been damaged in a
substantial amount to be determined at trial.

WHEREFORE, Relator J. Doe requests that judgment be entered in
his favor and against Defendants as follows:

(a) On the First, Second, and Third Claims for Relief (violations of the
False Claims Act, 31 U.S.C. § 3729(a)(1)(A), (B), and (C)), for treble
the United States’ damages, in an amount to be determined at trial, and
an $11,000 penalty for each and every false or fraudulent claim, record
or statement made, used, presented or caused to be made, used or
presented
by Defendants; and
(b) Awarding Relator his relator’s share pursuant to 31 U.S.C. § 3730(d)(1) or
(2); and
(c) On the First, Second, and Third Claims for Relief, an award of costs

and attorney's fees pursuant to 31 U.S.C. § 3730(d); and
(d) Awarding such further relief as is proper.

JURY TRIAL IS DEMANDED

ae
Case 5:17-cv-00036-GTS-TWD Document 25 Filed 10/25/19 Page 19 of 19

Dated: New York, New York,
October 23, 2019
ROBERT W SADOWSKI PLLC

 

Telephone: (646) 503-5341
rsadowski(@robertwsadowski.com

19

 
